Case 21-03020-sgj Doc 30-12 Filed 04/19/21   Entered 04/19/21 16:38:34   Page 1 of 3




                        EXHIBIT D




                                                                           UBS091
Case 21-03020-sgj Doc 30-12 Filed 04/19/21 Entered 04/19/21 16:38:34 Page 2 of 3
  Case 3:13-cv-01589-N Document 39 Filed 08/19/14 Page 1 of 2 PageID 982



                     IN THE UNITED STATED DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


 AMAX INVESTMENT COMPANY                       §
                                               §
        Plaintiff,                             §
                                               §
 vs.                                           §      CIVIL ACTION NO.
                                               §
 AMTRUST INSURANCE COMPANY OF                  §      3:13cv1589
 KANSAS,                                       §
                                               §
        Defendant.                             §

       AGREED ORDER GRANTING AGREED MOTION FOR ALTERNATIVE
                  SERVICE OF DEPOSITION SUBPOENA

       After considering the Agreed Motion for Alternative Service of Deposition

Subpoena filed by Defendant Amtrust Insurance Company of Kansas, the Court GRANTS

the motion and ORDERS that third party witness Brad Scherff may be served with a

deposition subpoena as follows:

           1. Mailing a true copy of the subpoena and this Order via regular and certified

               mail, return receipt requested, to Mr. Scherff at 5405 Miramar Lane,

               Colleyville, Texas 76034; and

           2. Leaving a true copy of the subpoena and this Order with the guard on duty

               at the gatehouse of Mr. Scherff’s subdivision with instructions to deliver

               the subpoena to Mr. Scherff




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AGREED ORDER GRANTING MOTION FOR ALTERNATIVE SERVICE                           PAGE 1 OF 2
OF DEPOSITION SUBPOENA



                                                                                  UBS092
Case 21-03020-sgj Doc 30-12 Filed 04/19/21 Entered 04/19/21 16:38:34 Page 3 of 3
  Case 3:13-cv-01589-N Document 39 Filed 08/19/14 Page 2 of 2 PageID 983



              SIGNED August 19, 2014.



                                        DAVID C. GODBEY
                                        UNITED STATES DISTRICT JUDGE




AGREED:

  /s/ Lisa A. Songy
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AGREED ORDER GRANTING MOTION FOR ALTERNATIVE SERVICE                  PAGE 2 OF 2
OF DEPOSITION SUBPOENA



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